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                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF LOUISIANA


SHENA BLAND, on behalf of herself and all )
those similarly situated                  )
                                          ) Case No.: 3:16-cv-00822-SDD-RLB
               Plaintiff,                 )
        vs.                               )
                                          )
ALCO COLLECTIONS, INC                     )
                                          )
               Defendant                  )
                                          )


          APPLICATION FOR ENTRY OF FINAL JUDGMENT BY DEFAULT

       Pursuant to Fed. R. Civ. P. 55(b)(2), plaintiff, Shena Bland, on behalf of herself and all

those similarly situated, applies for final judgment by default in its favor and against defendant,

ALCO Collections, Inc., in solido for statutory damages, attorney fees and costs all as set forth

more fully in the attached supporting memorandum and Declaration. Shena Bland, on behalf of

herself and all those similarly situated, prays final judgment by default.



                                                       Respectfully Submitted,

                                                        s/Marc R. Michaud_____
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